            Case 1:21-cv-00440-SH Document 25 Filed 06/24/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
 ALEXANDER STROSS,                                §
           Plaintiff                              §
                                                  §
 v.                                               §           Case No. 1:21-cv-00440-SH
                                                  §
 CABINETS DELUXE BY DALE, INC.,
                                                  §
           Defendant
                                             ORDER

      Before the Court is the Agreed Motion to Dismiss with Prejudice, filed June 24, 2022 (Dkt. 24).

After considering the Motion and the pleadings on file, the Court finds that the Motion should be

GRANTED.

      IT IS THEREFORE ORDERED that the Agreed Motion to Dismiss with Prejudice is hereby

GRANTED.

      IT IS FURTHER ORDERED that all claims that were brought or could have been brought

by Plaintiff Alexander Stross against Defendants Cabinets Deluxe by Dale, Inc. and DOES 1

through 10 are DISMISSED WITH PREJUDICE.

      IT IS FURTHER ORDERED that all claims that were brought or could have been brought

by Defendant Cabinets Deluxe by Dale, Inc. against Plaintiff Alexander Stross are DISMISSED

WITH PREJUDICE.

      The Court will enter a Final Judgment in a separate order.

      SIGNED on June 24, 2022.


                                                        SUSAN HIGHTOWER
                                                        UNITED STATES MAGISTRATE JUDGE
